            Case 1:11-cv-01440-JGK Document 6 Filed 04/25/11 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------)(
GERALDINE DAVIS,
                                    Plaintiff(s)                                    11 civ 1440 (JGK)

                        -against-                                  ORDER OF DISCONTINUANCE

ENHANCED RECOVERY COMPANY,
                   Defendant(s).
--------------------------------------------------------------)(

         It having been reported to this Court that the parties have settled this action,

         It is, on this 25TH day of April, 2011, hereby ordered that this matter be discontinued with

prejudice but without costs; provided, however, that within 30 days of the date ofthis order,

counsel for the plaintiff may apply by letter for restoration of the action to the calendar of the

undersigned, in which event the action will be restored.

SO ORDERED.




                                                                    ED STATES DISTRICT JUDGE
Dated: New York, New York                                      \
       April 25, 2011
